Fill in this information to identify your case:
                                                                                                                            Check if this is an amended
 Debtor 1         Larry W. Farmer                                                                                       plan, and list below the sections of
                                                                                                                        the plan that have been changed
 Debtor 2         Christine S. Farmer                                                                                   2.3
 (Spouse, if filing)

 United States Bankruptcy Court for the Northern District of Ohio

 Case number 18-10471
 Judge Harris
                                                                                                     Official Form 113

Chapter 13 Plan                                                                                                                                           12/17


Part 1:          Notices

To              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
Debtor(s):      option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do not comply with local rules and
                judicial rulings may not be confirmable.

                In the following notice to creditors, you must check each box that applies.

To
                  Your rights are affected by this plan. Your claim may be reduced, modified, or eliminated.
Creditor(s):
                  If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                  confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court.
                  The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule 3015.
                  In addition, you may need to file a timely proof of claim in order to be paid under any plan.

                  The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                  includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will be
                  ineffective if set out later in the plan.



 1.1         A limit on the amount of a secured claim, set out in Section 3.2, which may result in partial
                                                                                                                          Included             Not included
             payment or no payment to the secured creditor.




 1.2         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out
                                                                                                                          Included             Not included
             in Section 3.4.



 1.3         Nonstandard provisions, set out in Part 8.                                                                   Included            Not included




Part 2:      Plan Payments and Length of Plan

2.1     Debtor(s) will make payments to the trustee as follows:
        $1,944.00 per Month for 60 months
        [and $___ per ___ for ___ months.] Insert additional lines if needed.
        If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
        payments to creditors specified in this plan.
2.2     Regular payments to the trustee will be made from future income in the following manner:
        Check all that apply.
             Debtor(s) will make payments pursuant to a payroll deduction order.

             Debtor(s) will make payments directly to the trustee.

             Other (specify method of payment): _________________ .

Official Form 113                                                   Chapter 13 Plan                                               Page 1




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Debtor Larry Farmer Jr. & Christine Farmer                                                                          Case Number

2.3     Income tax refunds.
        Check one
            Debtor(s) will retain any income tax refunds received during the plan term.

              Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and
        will turn over to the trustee all income tax refunds received during the plan term.

            Debtor(s) will treat income tax refunds as follows: See confirmation order.


2.4     Additional payments.
        Check one:
            None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

           Debtor(s) will make additional payment(s) to the trustee specified below. Describe the source, estimated amount, and date of each
        payment.
        ______________________


2.5    The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.3 is $116,640.00.



Part 3:      Treatment of Secured Claims


3.1     Maintenance of payments and cure of default, if any.
        Check One.
      None . If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

     The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes required by the
applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or directly by the
debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any,
at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the filing deadline under Bankruptcy
Rule 3002(c) control over any contrary amounts listed below as to the current installment payment and arrearage. In the absence of a contrary
timely filed proof of claim, the amounts stated below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in
this paragraph, then, unless otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all secured
claims based on that collateral will no longer be treated by the plan. The final column includes only payments disbursed by the trustee rather than
by the debtor(s).

                                               Current installment        Amount of        Interest rate on       Monthly plan         Estimated total
Name of creditor           Collateral          payment (including         arrearage (if    arrearage (if          payment on           payments by
                                               escrow)                    any)             applicable)            arrearage            trustee

                                               $769.15
                           213 Erie Street,       Trustee
US Bank, NA                                                               $17,012.78       0.00%                  $283.55              $63,161.78
                           Elyria, OH 44035
                                                   Debtor


Mortgage Electronic                            $203.39
                           213 Erie Street,       Trustee
Registration System,                                                      $3,254.24        0.00%                  $54.24               $15,457.64
                           Elyria, OH 44035
Inc                                                Debtor

3.2    Request for valuation of security, payment of fully secured claims, and modification ofunder secured claims. Check one.


      None . If “None” is checked, the rest of § 3.2 need not be completed or reproduced.


3.3    Secured claims excluded from 11 U.S.C. § 506.
        Check One.


      None . If “None” is checked, the rest of § 3.3 need not be completed or reproduced.




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3.4    Lien avoidance .
        Check One.
      None . If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
The remainder of this section will be effective only if the applicable box in Part 1 is checked.

     The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the court, a judicial lien or security interest securing a
claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The amount of the
judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The amount, if any, of the
judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy
Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.

Information regarding judicial lien or security                                                                      Treatment of remaining secured
                                                  Calculation of lien avoidance
interest                                                                                                             claim

                                                                                                                   Amount of secured claim after
Name of Creditor
                                                  a. Amount of lien                                      $3,025.00 avoidance (line a minus line f)
Lendmark Financial Service
                                                                                                                   $0.00

Collateral                                                                                                           Interest rate (if applicable)
                                                  b. Amount of all other liens                           $0.00
2002 Chrysler Town and Country                                                                                         %

Lien identification
(such as judgment date, date of lien                                                                     +         Monthly payment on secured claim
                                                  c. Value of claimed exemptions
recording, book and page number)                                                                         $3,025.00 $0.00


                                                                                                                   Estimated total payments on
                                                                                                         +
                                                  d. Total of adding lines a, b, and c                             secured claim
                                                                                                         $6,050.00
                                                                                                                   $0.00

                                                                                                         -
                                                  e. Value of debtor’s interest in property
                                                                                                         $3,025.00

                                                  f. Subtract line e from line d.                        $3,025.00

                                                  Extent of exemption impairment
                                                  (Check applicable box):
                                                      Line f is equal to or greater than line a. (Do
                                                  not complete the next column).
                                                      Line f is less than line a. (Complete the next
                                                  column.)



3.5     Surrender of Collateral.
        Check One.


      None . If “None” is checked, the rest of § 3.5 need not be completed or reproduced.




Part 4:      Treatment of Fees and Priority Claims


4.1    General
        Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
        without postpetition interest.
4.2     Trustee’s fees
        Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 5.20% of plan payments; and
        during the plan term, they are estimated to total $6,065.28.
4.3    Attorney's Fees
        The balance of the fees owed to the attorney for the debtor(s) is estimated to be $2,500.00.
4.4     Priority claims other than attorney's fees and those treated in§ 4.5.
        Check one.



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       None . If “None” is checked, the rest of § 4.4 need not be completed or reproduced.


4.5     Domestic support obligations assigned or owed to a governmental unit and paid less thanfull amount.
         Check one.
             None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
         [o] The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
         governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision requires that
         payments in § 2.1 be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).â€‹

Name of Creditor                                    Estimated amount of Claim to be paid

                                                    $




Part 5:       Treatment of Nonpriority Unsecured Claims


 5.1     Nonpriority unsecured claims not separately classified.
         Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata. If more than one option is checked, the option
         providing the largest payment will be effective. Check all that apply.

             The sum of $29,753.17.

             100.00% of the total amount of these claims, an estimated payment of $29,753.17.

             The funds remaining after disbursements have been made to all other creditors provided for in this plan.
         If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately -
         $46,870.17. Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this
         amount.
5 .2     Maintenance of payments and cure of any default on nonpriority unsecured claims.Check one.


       None . If “None” is checked, the rest of § 5.2 need not be completed or reproduced.


5 .3     Separately classified nonpriority unsecured claims. Check one.


       None . If “None” is checked, the rest of § 5.4 need not be completed or reproduced.




Part 6:       Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and treated as specified. All other executory contracts and
unexpired leases are rejected. Check one.


       None . If “None” is checked, the rest of § 6.1 need not be completed or reproduced.




Part 7:        Vesting of Property of the Estate


 7.1 Property of the estate will vest in the debtor(s) upon discharge or closing of the case, whichever occurs earlier, unless an alternative
vesting date is selected below. Check the applicable box to select an alternative vesting date:

             plan confirmation.

             other: ____________________________




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Part 8:     Nonstandard Plan Provisions
8.1 Check “None” or List Nonstandard Plan Provisions

           None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.


These plan provisions will be effective only if the applicable box in § 1.3 is checked.
________________________

Part 9:        Signatures


9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the
Debtor(s), if any, must sign below.




Signature of Debtor 1                                    Signature of Debtor 2

Executed on:                                             Executed on:




/s/ William Balena
                                                         Executed on: 2/1/2018
Signaure of Attorney for Debtor(s)

Signature(s) of Debtor(s)




By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and order of
the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions included in Part
8.




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Exhibit: Total Amount of Estimated Trustee Payments


The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set out
below and the actual plan terms, the plan terms control.

a. Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                      $78,619.42

b. Modified secured claims (Part 3, Section 3.2 total)                                                                              $0.00

c. Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                         $0.00

d. Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                               $0.00

e. Fees and priority claims (Part 4 total)                                                                                          $8,565.28

f. Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                        $29,753.17

g. Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                    $0.00

h. Separately classified unsecured claims (Part 5, Section 5.3 total)                                                               $0.00

i. Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                         $0.00

j. Nonstandard payments (Part 8, total)                                                                                             $0.00

                                                                                                                                    $87,184.70
  Total of lines a through j




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